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                              8                                 UNITED STATES DISTRICT COURT
                              9                                NORTHERN DISTRICT OF CALIFORNIA
                              10                                     SAN FRANCISCO DIVISION
                              11   UUSI, LLC,                                        )     Case No. 4:18-cv-04637-JD
                                                                                     )
                              12                                 Plaintiff,          )     [PROPOSED] ORDER DENYING
                                                                                     )     APPLE INC.’S MOTION FOR ORDER
MCKOOL SMITH HENNIGAN, P.C.




                              13                    v.                               )     REQUIRING PLAINTIFF TO
                                                                                     )     IDENTIFY ASSERTED CLAIMS
                              14
    LOS ANGELES, CA




                                   APPLE, INC.,                                            PURSUANT TO PATENT LOCAL
                                                                                     )
                                                                                           RULE 3-1(A) AND RENEWED
                              15                                 Defendant.          )     MOTION TO STAY
                                                                                     )
                              16                                                     )
                                                                                     )     Date:     October 25, 2018
                              17                                                     )     Time:     10:00 a.m.
                                                                                     )     Place:    Courtroom 11, 19th Floor
                              18                                                     )     Before:   Hon. James Donato
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                                   Case No. 5:18-cv-04637 JD                  [PROPOSED] ORDER DENYING APPLE INC.’S MOTION FOR
                                                                                ORDER REQUIRING PLAINTIFF TO IDENTIFY ASSERTED
                                                                                          CLAIMS AND RENEWED MOTION TO STAY
                                   4851-5507-1606
                                       Case 3:18-cv-04637-JD        Document 61-1      Filed 10/04/18    Page 2 of 3



                              1             This matter comes before the Court on Defendant Apple Inc.’s Motion for Order Requiring

                              2    Plaintiff to Identify Asserted Claims Pursuant to Patent Local Rule 3-1(a) and Renewed Motion to

                              3    Stay (“Motion”). Having considered the arguments and papers submitted,

                              4             IT IS HEREBY ORDERED THAT Apple’s Motion is DENIED:

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                              6    DATED: ___________________ 2018
                                                                                  The Honorable James Donato
                              7                                                   UNITED STATES DISTRICT JUDGE
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MCKOOL SMITH HENNIGAN, P.C.




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    LOS ANGELES, CA




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                                   Case No. 5:18-cv-04637 JD                  [PROPOSED] ORDER DENYING APPLE INC.’S MOTION FOR
                                                                                ORDER REQUIRING PLAINTIFF TO IDENTIFY ASSERTED
                                                                                          CLAIMS AND RENEWED MOTION TO STAY
                                   4851-5507-1606
                                       Case 3:18-cv-04637-JD        Document 61-1        Filed 10/04/18         Page 3 of 3



                              1                                     CERTIFICATE OF SERVICE
                              2             The undersigned hereby certifies that a true and correct copy of the above and foregoing

                              3    document has been served on October 4, 2018 to all counsel of record who are deemed to have

                              4    consented to electronic service via the Court’s CM/ECF system. Any other counsel of record will be

                              5    served by electronic mail, facsimile, U.S. Mail and/or overnight delivery.

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                                                                                               /s/ Yoshie Botta
                              7                                                                Yoshie Botta

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MCKOOL SMITH HENNIGAN, P.C.




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    LOS ANGELES, CA




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                                   Case No. 5:18-cv-04637 JD                                                     CERTIFICATE OF SERVICE

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